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      EXHIBIT 105
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                     Subject: Re: Nikkei: Apple cancels production boost for budget iPhone XR:sources
                       From: "Priya Balasubramaniam"
                Received(Date): Mon, 05 Nov 2018 14:47:26 +0000
                          To: "Jeff Williams"
                          Cc: "Sabih Khan"                    >, "Donal Conroy"

                          Date: Mon, 05 Nov 2018 14:47:26 +0000

               Jeff

               We spoke to Foxconn and Pegatron Friday night- on the call itself we gave no numbers . They
               would have seen the numbers when MPS published. The team is looking at the accuracy of the
               numbers and we will ask all OEMs about this article. Will get back to you later today.

               Regards

               Priya

               Sent from my iPhone

               On Nov 5, 2018, at 6:45 AM, Jeff Williams                         wrote:

               Did we pass something on ‘Thursday to Foxconn. I thought it was Friday. Someone inside both
               companies is talking to the press.

                Begin forwarded message:

                From: Steve Dowling <
                Subject: Nikkei: Apple cancels production boost for budget iPhone XR: sources
                Date: November 5, 2018 at 5:57:23 AM PST
                To: Tim Cook <                     >, Jeff Williams
                                   , Phil Schiller                    Donal Conroy <
                                          >, Greg Joswiak <

                Cc: Trudy Muller <                         Kristin Huguet <                           >, Tor
                Myhren <                         >, Nancy Paxton <                             Josh
                Rosenstock <

                                                            FYI

                https://asia.nikkei.com/Business/Companies/Apple-cancels-production-boost-for-
                                           budget-iPhone-XR-sources


                       Apple cancels production boost for


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                             budget iPhone XR: sources
                        Dimmer outlook for new model
                      contrasts with extra orders for older
                                    versions
                                             November 05, 2018 18:27 JST




                            TAIPEI -- Apple has signaled
                         disappointing demand for the new
                      iPhone XR, telling its top smartphone
                      assemblers Foxconn and Pegatron to
                        halt plans for additional production
                       lines dedicated to the relatively cost-
                      effective model that hit shelves in late
                               October, sources say.
                "For the Foxconn side, it first prepared
                nearly 60 assembly lines for Apple's XR
                model, but recently uses only around 45
                 production lines as its top customer
                 said it does not need to manufacture
                 that many by now," a source familiar
                         with the situation said.


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                  That means Foxconn, the Taiwanese
                  company traded as Hon Hai Precision
                Industry, would produce around 100,000
                    fewer units daily to reflect the new
                   demand outlook -- down 20% to 25%
                from the original optimistic outlook, this
                               person said.
                     Fellow Taiwanese manufacturer
                    Pegatron faces a similar situation,
                      suspending plans to ramp up
                     production and awaiting further
                 instructions from Apple, a supply chain
                               source said.
                 "The utilization for the XR production is
                   not reaching its maximum capacity
                         now," the source added.
                   Apple also had asked smaller iPhone
                  assembler Wistron to stand by for rush
                   orders, but supply chain sources say
                  the company will receive no orders for
                    the iPhone XR this holiday season.



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                   Apple, the world's most profitable
                    smartphone company, had great
                 expectations that the iPhone XR would
                  jump-start shipments this year. This
                lower-cost model debuted alongside the
                 iPhone XS and top-of-the-line XS Max.
                  Yet the California-based tech company
                  instead is requesting more of the older
                    iPhone 8 and iPhone 8 Plus models,
                   which are up to 20% cheaper than the
                        XR's starting price of $749.
                    "Suppliers of iPhone 8 and iPhone 8
                    Plus are getting a combined order of
                     around 5 million more units," one
                  source said. Apple previously planned
                    20 million units for the older iPhone
                     models this quarter, but raised the
                  figure to 25 million units, the individual
                                     said.
                 Foxconn is the main supplier for iPhone
                    8 Plus, while Pegatron is the key
                  supplier for the smaller-screen iPhone


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                                                    8.
                      Apple did not respond to Nikkei Asian
                         Review's request for comment.
                             Foxconn, Pegatron and
                         Wistron declined to comment.
                   The moves to add orders for year-old
                  iPhone models while suspending extra
                      production for the latest product
                   illustrates Apple's lack of innovation
                    and inability to energize consumers
                  with such a pricing strategy. Last year,
                 Apple gave rush orders for the iPhone 7
                    series following the launches of the
                 iPhone 8 series and premium iPhone X.
                   Apple also faces a quickly maturing
                      smartphone market. Worldwide
                  shipments, which slipped 0.1% in 2017
                  for the first year-over-year decline, are
                    expected to contract again in 2018,
                        research company IDC says.
                      The Silicon Valley company prepared



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                   more cautiously for production this
                 year, looking to avoid severe inventory
                 corrections later. Apple asked suppliers
                  to prepare 20% fewer components for
                 this year's new iPhones compared with
                                 last year.
                 The company is now reviewing iPhone
                 demand weekly to adjust orders quickly
                   in response to the market, a source
                                  said.
                 Apple gave a lukewarm forecast for the
                    holiday season on Thursday. The
                      company also said it will cease
                 disclosing unit shipments for iPhones,
                    Macs and iPads beginning in the
                   December quarter. The unexpected
                 policy change raised concerns that the
                 U.S. tech giant is struggling to spur unit
                       sales growth looking ahead.
                         "Apple's move will hamper the
                      predictability of earnings," Jeff Pu, a
                        Hong Kong-based analyst for GF


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                      Securities, told the Nikkei. The
                    American company's reluctance to
                     disclose shipment volumes also
                       suggests that Apple faces the
                   possibility of its first annual decline
                  next year and wants the public to focus
                        elsewhere, the analyst said.
                 China's Huawei Technologies snatched
                 Apple's global No. 2 smartphone share
                 for two straight quarters this year. IDC
                    statistics show Apple's shipments
                   trailed Huawei's during the quarter
                 ended in September. Apple's combined
                 iPhone shipments grew only 1.37% on
                   the year over the first nine months,
                             IDC's data showed.
                 "The chance for Apple to revise upward
                     its production for iPhone XR and
                     iPhone XS during this Christmas
                   holiday season is very thin, given the
                  forecast provided by the company and
                    our supply chains check," Pu said.



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                      Demand for the most premium iPhone
                      XS Max is only slightly better than that
                        for the other two new models, the
                                   analyst said.
                                             Sent from my iPhone




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